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A letter to the Honorab|e judge .loe| H S|omsky C.C. chiefjudge Lawrence F. Stenge| Date June 4th 2018

To the Honorable Joel H slomski this is l\/lr Orlando Antonio l am writing you this correspondence to let
you know that l do understand that the courts of the United States are doing business under
commercial law here in the United States courts are based around equity and very little to do with
|aw. l also understand that when an individual files a case in Court he or she is structuring a contract
with the courts and then the case gets assigned a case number then it gets assigned to a judge. Courts
are also public trading companies like the depository Trust Company. And the depository Trust and
Clearing Corporation these two company owns the courts in the United States SO The reason that l'm
saying all of this is because currently l have a contract with the Eastern district Court of Pennsy|vania in
Phi|ade|phia case number 217-CV01462 and currently there are two motions pending one by the
defendants asking the court to dismiss the case and a second motion by the plaintiff Orlando Antonio
asking the court to Grant a default judgement against the defendant for not responding to his affidavit
filed on 5-3 2018 l would like to settle out the contract that was created with the courts thank you
sincerely yours Or|ando Antonio P.S. there is a public and private side to everything |N this world in
dealing with everything as it relates to Commercial Business in the United States | would like to settle
this matter on the public side if at all possible. Thank you sincerely yours by Orlando Antonio Fg§ W,,a

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this day of 20 My Coml:r*\\\isslon Expires 08- y18~ 2020

 

 

